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                                   INTHE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF OREGON


                                                                 I
          KEVIN LEWIS, ZORINA JORDAN, JOSHUA
          ROSENBERG,                                                       CW   NO-06-W-1452-ST
                              Plaintiffs,                        ORDER OF DISMISSAL WM'H
                                                                 PREJUDICE AS TO CLAIMS OF
                              v.
                                                                 PLs-           Z O M A JORDAN
          GRBYH:OW LINES, INC.,                                  AND JOSHUA ROSEFIBERG
                                     Defendant.



                       Based upon the parties' Stipulated Motion for entry ofJudgment of Dismissal with
          Prejudice on the claims of PIaintifB Zmha Jordan and Jasbua Rosmberg, it is hereby
          ADJUDGED all claims for relief asserted by Plaintiffs Zorina Jordan and Joshua
          Rosenbmg are dismissed with prejudice.
                       ~ a t e dthis 38 day of November, 2007.
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          Submitted by:
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          -    J--
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